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  6
      Attorneys for The Huntington Beach Gables Homeowners Association
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  8                             UNITED STATES BANKRUPTCY COURT
  9                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10
 11   In re:                                                Case No. 8:21-bk-11710-ES
 12   JAMIE LYNN GALLIAN,
                                                            Chapter 7
 13
                                                            THE HUNTINGTON BEACH GABLES
 14                   Debtor.                               HOMEOWNERS ASSOCIATION’S
                                                            REPLY TO DEBTOR’S OPPOSITION
 15                                                         TO MOTION OBJECTING TO
                                                            DEBTOR’S CLAIMED HOMESTEAD
 16                                                         EXEMPTION
 17
                                                            Hearing Date: July 21, 2022
 18                                                         Time:         10:30 a.m.
                                                            Courtroom: 5A
 19
 20
 21
               The Huntington Beach Gables Homeowners Association (“HOA”) hereby files its Reply
 22
      to Debtor’s Opposition to Motion Objecting to Debtor’s Claimed Homestead Exemption, filed
 23
      June 1, 2022, as Docket No. 105 (“Opposition”).
 24
               In a long and meandering brief, the Debtor admits that on the Petition Date, her LLC was
 25
      the title owner of the real property located at 16222 Monterey Lane, Space 376, Huntington
 26
      Beach, CA 92649 (“Property”) but that she was holding onto a release of title that she allegedly
 27
      executed from herself as manager of her LLC to herself individually months before (Opposition,
 28
      at 4:3-20). Based on this admission, Debtor argues that although exemptions are fixed on the


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  1   Petition date, she need not be title owner of real property in order to claim a homestead
  2   exemption and that her entitlement to the homestead exemption is proven by residency alone.
  3           However, these arguments have already been considered at length and rejected in a
  4   published decision of the Ninth Circuit Bankruptcy Appellate Panel (“BAP”) in Schaefers v.
  5   Blizzard Energy, Inc. (In re Schaefers), 623 B.R. 777 (B.A.P. 9th Cir. 2020).
  6           In Schaefers, the chapter 7 debtors’ limited liability company was the title owner of their
  7   California residence. Id. at 779-80. Blizzard Energy, the Schaefers’ largest creditor, objected to
  8   the homestead exemption claim on the ground that the Debtors did not have an interest in the
  9   residence, their LLC did. Id. at 781. The Schaefers argued, like Debtor does in the Opposition,
 10   that mere residence alone is sufficient to establish a homestead exemption. Id. at 783. The BAP
 11   rejected that very argument because, as a matter of California law, the members of an LLC have
 12   no interest in LLC property. Id. at 783. Consequently, residency alone is not sufficient to
 13   maintain a valid homestead exemption. The BAP further explained why the Court should not
 14   permit a debtor to exempt property of a separate and distinct legal entity:
 15
            The California requirement that the debtor must have some interest in the homestead
 16         property is consistent with the scope of the Bankruptcy Code's exemption statute,
 17         which only applies to property of the estate. See § 522(b)(1); see also Schwab, 560
            U.S. at 774 (holding that unopposed exemption claims "exclude the subject property
 18         from the estate"). Aside from certain nuances not relevant here, property of the estate
            only includes property in which the debtor has a legal, equitable, or community
 19         property interest. § 541(a); see also Jess v. Carey (In re Jess), 169 F.3d 1204, 1207
            (9th Cir. 1999) ("Notwithstanding certain specified exceptions, the bankruptcy estate
 20
            includes all legal and equitable interests in property held by the debtor at the time of
 21         filing."). Schaefers failed to prove that he held any equitable or legal interest in the
            Property. Accordingly, it is not property of the estate, and he cannot claim any
 22         exemption in it. See In re Breece, 487 B.R. 599, 2013 WL 197399 at *9.
 23   Id. at 784.
 24           The HOA respectfully submits that there is no material difference between the facts of
 25   the BAP’s decision and the case at bar. Accordingly, Debtor is entitled to no homestead
 26   exemption in the Property and her homestead exemption claim must be disallowed in its entirety.
 27   Alternatively, the exemption must be capped at $170,350 pursuant to 11 U.S.C. § 522(p)).
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      Dated: July 7, 2022                            Respectfully submitted,
  1
  2                                                  GOE FORSYTHE & HODGES, LLP

  3
                                                     By: /s/ Robert P. Goe
  4                                                       Robert P. Goe
                                                          Brandon J. Iskander
  5                                                       Attorneys for Huntington Beach Gables
                                                          Homeowners Association
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                                        PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  3   A true and correct copy of the foregoing document entitled (specify): THE HUNTINGTON BEACH
      GABLES HOMEOWNERS ASSOCIATION’S REPLY TO DEBTOR’S OPPOSITION TO MOTION
  4   OBJECTING TO DEBTOR’S CLAIMED HOMESTEAD EXEMPTION will be served or was served (a) on
      the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  5   below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) July 7, 2022, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  8   receive NEF transmission at the email addresses stated below:

  9          Aaron E DE Leest adeleest@DanningGill.com,
              danninggill@gmail.com;adeleest@ecf.inforuptcy.com
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
 10
             Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
 11          D Edward Hays ehays@marshackhays.com,
              ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;
              cmendoza@ecf.courtdrive.com
 12
             Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
             Eric P Israel eisrael@DanningGill.com,
 13
              danninggill@gmail.com;eisrael@ecf.inforuptcy.com
             Laila Masud lmasud@marshackhays.com,
 14
              lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
             Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
 15
             Valerie Smith claims@recoverycorp.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 16
      2. SERVED BY UNITED STATES MAIL:
 17   On (date) July 7, 2022, I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 18   in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 19   document is filed.

 20   Jamie Lynn Gallian                   Janine Jasso                          Michael D Poole
      16222 Monterey Ln Unit 376           PO Box 370161                         Feldsott & Lee
 21   Huntington Beach, CA 92649           El Paso, TX 79937                     23161 Mill Creek Dr Ste 300
                                                                                 Laguna Hills, CA 92653
 22
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 23   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) July 7, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 24   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
 25   mail to, the judge will be completed no later than 24 hours after the document is filed.

 26        The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
           (SUSPENDED DUE TO COVID-19 PROTOCOLS)
 27
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 28     July 7, 2022          Susan C. Stein                                /s/Susan C. Stein
        Date                     Printed Name                               Signature



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